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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


COALITION FOR HUMANE IMMIGRANT RIGHTS, et
al.,

    Plaintiffs,

    v.                                                             Case No.: 1:25-cv-0872

KRISTI NOEM, in her official capacity as Secretary of
Homeland Security, et al.,

    Defendants.


                      DECLARATION OF CESAR O. MONTOYA, ESQ.


I, Cesar O. Montoya, Esq., upon my personal knowledge, hereby declare as follows:

   1. I am over the age of 18 and competent to testify to the facts and matters set forth herein.

   2. I am an attorney in good standing of the State Bar of California, and I have been

         practicing immigration law for over six years. I am the managing attorney at MCM Law

         Group, P.C. based in Santa Ana, California.

   3. In my practice, I represent numerous noncitizens, including individuals paroled into the

         United States under various humanitarian processes.

   4. My clients include Cuban nationals who entered the U.S. legally, have complied with all

         reporting and legal obligations, and are eligible to adjust their status to lawful permanent

         resident status under the Cuban Adjustment Act (CAA).

                                               D.R.A.

   5. One such client is D.R.A., a 63-year-old Cuban national who presented at the Calexico

         port of entry on June 28, 2024, for inspection after making a CBP One appointment.
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   D.R.A. was inspected and paroled into the country on June 28, 2024 and was at that time

   issued a Notice to Appear requiring her to appear before the Santa Ana Immigration

   Court on December 9, 2024. Attached as Exhibit A is a true and correct copy of the

   Notice to Appear that D.R.A. received with all personally identifiable information

   redacted.

6. After D.R.A. was paroled into the United States, she resided in California and obtained

   work authorization based on her parole status. She has been working as a housekeeper.

   D.R.A. has no criminal history and has met all obligations under the law. She is also

   prima facie eligible to adjust her status under the CAA as a result of her parole into the

   country more than one year ago.

7. On May 20, 2025, D.R.A. attended a scheduled master calendar hearing at the

   Immigration Court in Santa Ana, California. This was her second master calendar

   hearing; the first took place on April 22, 2025, which she also attended. I represented her

   at the May 20, 2025, hearing. Another master calendar hearing is currently scheduled for

   June 13, 2025, at 1:00 PM.

8. At that time, the Immigration and Customs Enforcement (ICE) Trial Attorney did not file

   or make any oral motion to dismiss the case. The respondent, D.R.A., was not served

   with any written motion to dismiss prior to or at the hearing. There was no indication

   from the ICE Trial Attorney that the respondent would be taken into custody or subject to

   expedited removal following the hearing. The Immigration Judge did not issue any order

   dismissing the proceedings.




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9. Immediately after leaving the courtroom, however, D.R.A. was detained outside the court

   by ICE officers. D.R.A. has not received a Form I-860, which is the Notice and Order of

   Expedited Removal.

10. As of this time, DHS has not filed any motion to dismiss the case.

11. D.R.A. was inspected and paroled into the country on June 28, 2024. Although her parole

   was initially for a longer period, her current Form I-94 indicates an “Admit Until Date”

   of April 18, 2025. Attached as Exhibit B to this declaration is a true and correct copy of

   D.R.A.’s I-94, last checked on June 9, 2025, with all personally identifiable information

   redacted. I understand this to mean that D.R.A.’s parole status has been terminated.

12. A motion for custody redetermination has since been filed on her behalf and is currently

   pending before the Immigration Court.

13. My belief that D.R.A. is being processed for expedited removal—or is at imminent risk

   of being processed for expedited removal—is based on the fact that she was detained

   following the dismissal of her case, without being issued a new Notice to Appear, being

   given a bond hearing, or being provided any further information or documentation, and in

   light of widespread reports that other paroled individuals like D.R.A. have been detained

   and placed in expedited removal after their removal proceedings were dismissed.

14. D.R.A. has a well-founded fear of returning to Cuba, where she was previously subjected

   to political persecution due to her outspoken opposition to the regime. If she is

   processed for expedited removal, she will be unable to present her asylum claim before

   an Immigration Judge unless she first establishes credible fear during a detention

   interview.




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15. Furthermore, being placed in expedited removal will prevent her from obtaining other

   forms of relief for which she is eligible, including adjustment of status under the CAA, to

   which she remains prima facie eligible due to her parole into the United States.

16. In addition to these procedural barriers, D.R.A. suffers from age-related medical

   conditions, including hypertension, chronic joint pain, dizziness, and mental health

   challenges such as anxiety and depression, all exacerbated by detention. The lack of

   adequate medical and mental health care in detention, combined with limited due process

   protections and restricted access to counsel and evidence, poses a serious risk to her well-

   being.

                                         M.A.R.

17. A second client of mine facing this treatment is M.A.R., a 46-year-old Cuban national

   who presented at the San Ysidro port of entry on March 14, 2024, for inspection. He

   entered with travel authorization and was also paroled into the United States. As with

   D.R.A., M.A.R.’s current I-94 shows an “Admit Until” date of April 18, 2025, which I

   similarly understand to mean that his parole status was terminated early. Attached as

   Exhibit C to this declaration is a true and correct copy of M.A.R.’s I-94, last checked on

   June 9, 2025, with all personally identifiable information redacted. M.A.R. did not

   receive any notice indicating that his parole would be revoked or terminated.

18. At the same time as his parole, he was issued a Notice to Appear requiring him to appear

   before the Miami Immigration Court on March 11, 2025. Attached as Exhibit D to this

   declaration is a true and correct copy of M.A.R.’s Notice to Appear with all personally

   identifiable information redacted. After relocating to California, the client filed a motion




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   to change venue, which was granted on March 11, 2025, prior to his scheduled hearing. A

   new hearing date was set for March 28, 2025, before the Santa Ana Immigration Court.

19. After M.A.R. was paroled into the United States, he resided in Florida and then moved to

   California. He obtained work authorization based on his parole status and has been

   working as a houseman. On February 28, 2025, he married a U.S. citizen. M.A.R. has no

   criminal history and has met all obligations under the law. He is also prima facie eligible

   to adjust his status under the CAA as a result of his parole into the country more than one

   year ago.

20. M.A.R. has filed an application for adjustment of status. Attached as Exhibit E is a true

   and correct copy of the Form I-797C, Notice of Action, reflecting the biometrics

   appointment for his I-485 application, which was stamped on April 17, 2025, the date on

   which he completed his biometrics.

21. On May 28, 2025, M.A.R. attended a scheduled master calendar hearing at the

   Immigration Court in Santa Ana, California. This was his first master calendar hearing. I

   did not represent him at this appearance, as he had been handling his immigration matters

   on his own without issue. However, shortly after this hearing, he was unexpectedly

   arrested.

22. Prior to the hearing, M.A.R. had filed several pro se motions to terminate proceedings, on

   February 21, 2025, March 6, 2025, and the most recent on May 23, 2025, seeking to

   continue his adjustment under the CAA. DHS had opposed these motions.

23. Shortly after the master calendar hearing, DHS filed a written motion to dismiss the case.

   M.A.R. was never provided a copy of this motion prior to or during the hearing. At no




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   point did the ICE Trial Attorney inform M.A.R. or the court that dismissal would result in

   immediate detention or expedited removal.

24. The motion to dismiss was granted during the pendency of our motion to change venue

   and before we could file a custody redetermination request on his behalf.

25. Immediately after exiting the courtroom, M.A.R. was detained by ICE officers. He was

   not served with a Form I-860 (Notice and Order of Expedited Removal) at the time of

   detention or afterward.

26. There is no indication that M.A.R. was referred for a credible fear interview (CFI) prior

   to the hearing, during the hearing, or since being taken into custody.

27. My belief that M.A.R. is being processed for expedited removal is that he was taken into

   custody without warning following dismissal of proceedings and has not been issued a

   new charging document, notice of bond hearing, or any other paperwork indicating that

   removal proceedings are ongoing. ICE has also failed to provide any formal explanation

   for his current detention.

28. Based on my 6 years of immigration law practice, this situation is highly irregular. It is

   not typical practice to detain parolees for expedited removal immediately after dismissal

   of their removal proceedings without due notice, service of documents, or termination of

   parole status. This process departs significantly from what I have previously encountered.

29. Although he had previously been placed in Section 240 removal proceedings and was

   attending court as scheduled, M.A.R. was unexpectedly arrested and processed for

   expedited removal after appearing at his first master calendar hearing on May 28, 2025.

   As a result, he was denied the opportunity to fully present his case before an Immigration

   Judge with the benefit of due process and legal representation. Like many Cuban




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   nationals who voice opposition or resist state control, he has faced threats, harassment,

   and retaliation from Cuban authorities. He fears he will be punished if returned, a fear

   that is credible and well-founded given the Cuban government’s documented history of

   targeting dissidents. M.A.R. is now only able to seek asylum or related protection if he

   can establish a credible fear during a high-stakes, time-limited interview while in

   detention, without meaningful access to counsel, community support, or the evidence

   necessary to support his claim.

30. It is of additional concern that M.A.R. has not yet been given a fear screening or referred

   to U.S. Citizenship and Immigration Services for a credible fear interview. And to the

   extent D.R.A. is similarly being detained for expedited removal purposes, it is of concern

   that she has not yet been given such a fear screening or CFI referral.

31. This abrupt shift to expedited removal proceedings not only deprives respondents of due

   process but also eliminates the ability of Cuban nationals like D.R.A. and M.A.R. to

   request practical procedural safeguards available in Section 240 proceedings, such as the

   use of the status docket, administrative closure, or continuances to allow USCIS

   sufficient time to adjudicate their adjustment applications under the CAA.

32. Although Cuban nationals in 240 proceedings may not be able to adjust directly before

   the Immigration Judge, the availability of these procedural tools is essential in facilitating

   relief through USCIS. The use of the status docket, in particular, was reaffirmed through

   recent EOIR policy guidance reinstated by Director Sirce Owen.

33. Expedited removal forecloses access to these safeguards entirely, replacing the neutral

   adjudication process of the immigration court with a swift, opaque process in which no

   Immigration Judge is involved unless a credible fear is established. M.A.R. has filed an



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       application for adjustment of status under the CAA. In addition, by virtue of his marriage

       to a U.S. citizen, he is eligible to file an I-130 Petition for Alien Relative and an I-485

       Application to Register Permanent Residence or Adjust Status.

   34. Because of the government’s new policy or practice of arresting noncitizens—including

       parolees who are prima facie eligible for immigration relief—in or near immigration

       court facilities to process them for expedited removal, many of my clients are now afraid

       to attend court hearings. This has eroded their trust in the legal system and threatens to

       undermine their due process right to fundamentally fair removal proceedings.

   35. Additionally, this new policy or practice further destabilizes vulnerable communities and

       undermines the statutory scheme Congress enacted to provide pathways to lawful

       immigration status, including for Cuban nationals under the CAA.

   36. I reviewed the contents of this declaration pertaining to D.R.A. over the phone with her

       and she confirmed that the statements about her immigration history, status, and case are

       all true and correct to the best of her knowledge. I reviewed the contents of this

       declaration pertaining to M.A.R. over the phone with him and he confirmed that the

       statements about his immigration history, status, and case are all true and correct to the

       best of his knowledge. Because my clients are now detained and I am only able to reach

       them by phone occasionally, it is not reasonably possible to obtain a signed declaration

       directly from them.

     I declare under penalty of perjury and under the laws of the United States that the foregoing
is true and correct to the best of my knowledge.
                                               Executed in Santa Ana, California on June 9, 2025.


                                                             _______________________________
                                                                           CESAR O. MONTOYA


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                      EXHIBIT A




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                      EXHIBIT B




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                     EXHIBIT C




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                     EXHIBIT D




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                      EXHIBIT E




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